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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS


 LABORATORIOS PISA S.A. de C.V; AND
 CAB ENTERPRISES, INC.,
                                                   Civ. Action No.: 7:21-CV-0062
                           Plaintiffs,

         vs.
                                                   (JURY DEMAND)
 PEPSICO, INC.; AND STOKELY-VAN
 CAMP, INC.,

                           Defendants.


                   NOTICE OF EMERGENCY MOTION AND MOTION

       PLEASE TAKE NOTICE that by and through their undersigned counsel, plaintiffs hereby

file their Emergency Motions for Temporary Restraining Order and Order to Show Cause for a

Preliminary Injunction and respectfully request that the Court set an emergency hearing on their

Motions for tomorrow, Friday February 19, 2021.




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         The basis for plaintiffs’ request for an emergency hearing tomorrow is that, unfortunately,

it only just became known that the defendants intend to launch a product this Sunday, February

21, 2021 that, unless temporarily restrained by this Court, will irreparably harm plaintiffs.

         Accordingly, plaintiffs seek an emergency hearing and entry of a temporary restraining

order to be followed by a preliminary injunction, enjoining defendants from, inter alias, the

manufacture, sale, distribution, shipping, marketing, promoting, advertisement and otherwise offer

for sale of defendants’ “Gatorlyte” beverage products.

         Plaintiffs’ motion involves defendants’ planned launch of a new product – defendants’

“Gatorlyte” ready to drink rehydration beverage – this Sunday, February 21, 2021. Defendants’

Gatorlyte product infringes plaintiffs’ intellectual property rights and will directly – and unfairly -

compete with plaintiffs’ Electrolit® brand of premium hydration beverages. Plaintiffs first learned

of Defendants’ plan to launch this product late on Friday of last week. Due to the holiday this past

Monday, plaintiffs’ first opportunity to discuss with counsel took place on Tuesday. Before

proceeding, plaintiffs had to review the issues and obtain corporate approval to proceed with this

action– which they did in less than 24 hours – after which plaintiffs’ counsel prepared and filed

the present motion, concurrently filed complaint, and supporting documents within the next 24

hours.

         We regret the need to request a hearing on such short notice and understand and appreciate

the time and effort that the Court will expend, but the urgency is a result of defendants conduct –

it chose to intentionally and unlawfully violate plaintiffs’ Electrolit® product - and if it is not

enjoined from launching this product this Sunday, plaintiffs will be irreparably harmed. We are

concurrently reaching out to defendants’ counsel to confirm whether or not they still intend to

launch the offending product this Sunday. If defense counsel confirms that the launch will not




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occur, we will immediately inform the Court so that a continuance of the emergency hearing may

occur. We will be requesting that defendants’ counsel confirm the status of the launch by 9:00am

eastern tomorrow (Friday, February 19, 2021) and will update the Court immediately thereafter.

We understand that the Court has had closures due to inclement weather and appreciate its urgent

attention to this matter.

        A memorandum of law and supporting declaration and exhibits are filed concurrently with

this motion and incorporated herein. The grounds for the relief requested are set forth in detail in

the memorandum of law and the supporting materials cited in the memorandum of law. A proposed

order setting forth the relief requested is being filed concurrently.

        Plaintiffs, by and through their counsel, shall appear at the Court's earliest convenience

before the U.S. District Court for the Southern District of Texas to present Plaintiffs' Emergency

Motions for Temporary Restraining Order and Order to Show Cause for a Preliminary Injunction.




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Dated: February 18, 2021               Respectfully submitted,

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